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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

WILDEARTH GUARDIANS, MONTANA                         Case No. 4:21-cv-00004-
ENVIRONMENTAL INFORMATION                            BMM-JTJ
CENTER, CENTER FOR BIOLOGICAL
DIVERSITY, SIERRA CLUB, and                          ORDER GRANTING
WATERKEEPER ALLIANCE, INC.,                          DEFENDANTS’
                                                     MOTION TO STAY
             Plaintiffs,                             CASE FOR THIRTY
       vs.                                           DAYS TO ALLOW
                                                     FOR SETTLEMENT
U.S. BUREAU OF LAND MANAGEMENT,                      DRAFTING
an agency within the U.S. Department of the
Interior; DEBRA HAALAND, in her official
capacity as Secretary of the United States
Department of the Interior; and DONATO
JUDICE, in his official capacity as Montana
Bureau of Land Management Deputy State
Director,

             Defendants.

      Before the Court is Defendants’ U.S. Bureau of Land Management et al.

Unopposed Motion to Stay Case for Thirty Days to Allow for Settlement Drafting.

Good cause appearing therefore, the Court HEREBY ORDERS that the Motion is

GRANTED. The case and all pending deadlines are stayed for thirty days.

DATED this 23rd day of March, 2022.
